  Case 1:06-cr-00080-SOM-BMK   Document 577   Filed 12/27/07   Page 1 of 2
                               PageID.2431


                IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,     )     CR. NO. 06-00080-02 SOM/BMK
                              )
          Plaintiff,          )     ORDER WITHDRAWING (PENDING
                              )     FURTHER BRIEFING) PORTION OF
     vs.                      )     “ORDER REGARDING PARTIAL WAIVER
                              )     OF ATTORNEY-CLIENT PRIVILEGE
RODNEY JOSEPH, JR.,           )     WITH RESPECT TO DEFENDANT’S
                              )     MOTION TO SUPPRESS STATEMENT
          Defendant.          )     AND EVIDENCE”
_____________________________ )


           ORDER WITHDRAWING (PENDING FURTHER BRIEFING)
           PORTION OF “ORDER REGARDING PARTIAL WAIVER OF
             ATTORNEY-CLIENT PRIVILEGE WITH RESPECT TO
      DEFENDANT’S MOTION TO SUPPRESS STATEMENT AND EVIDENCE”

          On October 30, 2007, this court issued its Order

Regarding Partial Waiver of Attorney-Client Privilege with

Respect to Defendant’s Motion To Suppress Statement and Evidence,

2007 WL 3254850 (D. Haw. Oct. 30, 2007).       In light of further

briefing that the Government will be submitting, this court

withdraws portions of that order, without prejudice to

reinstating those portions or amending them following review of

further briefing.

          The portions now withdrawn pending further

consideration are (1) the sentence stating, “Only if Joseph opens

the door at trial by himself testifying or by presenting evidence

contrary to what Evans has stated may the Government call Evans

in rebuttal and use Evans’s statements to impeach Joseph’s

evidence,” and (2) the reference to “the allowing of the use of

Evans’s statement by the Government in rebuttal if the defense
  Case 1:06-cr-00080-SOM-BMK    Document 577   Filed 12/27/07   Page 2 of 2
                                PageID.2432


presents contrary evidence.”      The court has already discussed

this matter with counsel in more than one hearing, presenting a

hypothetical and referring to cases that permit even suppressed

evidence to be admitted if a defendant testifies in opposition to

the suppressed evidence.       However, the court recognizes that the

privilege issue adds a gloss not considered by those case

authorities and now awaits further briefing on the issue before

ruling on the admissibility at trial of privileged information.

In all other respects, this court’s ruling of October 30, 2007,

remains unchanged.

          IT IS SO ORDERED.

          DATED: Honolulu, Hawaii, December 27, 2007.




                                    /s/ Susan Oki Mollway
                                   Susan Oki Mollway
                                   United States District Judge




United States of America v. Rodney Joseph, Jr.; Cr. No. 06-00080-
02 SOM/BMK; ORDER WITHDRAWING (PENDING FURTHER BRIEFING) PORTION
OF “ORDER REGARDING PARTIAL WAIVER OF ATTORNEY-CLIENT PRIVILEGE
WITH RESPECT TO DEFENDANT’S MOTION TO SUPPRESS STATEMENT AND
EVIDENCE”


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